  Case 23-16871      Doc 22     Filed 02/08/24 Entered 02/08/24 13:32:47           Desc Main
                                  Document     Page 1 of 5



                   IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

IN RE:                               )      Chapter 13
                                     )
       Jungsoo Lim and               )
       Peter Myong Je Lee            )      Case No. 23-16871
                                     )
                      Debtor(s).     )      Judge Jacqueline P. Cox

                                   NOTICE OF MOTION
To:    Office of Thomas H. Hooper, Chapter 13 Trustee, via electronic court notice
       CITIBANK, N.A., 590 Madison Avenue, 21 Floor, New York, New York 10022
       Citibank, Citicorp Cr Srvs/Centralized Bankruptcy, Po Box 790040, St. Louis
              MO 63179-0000
       Citibank, N.A., 5800 S Corporate Pl, Sioux Falls, SD 57108-5027
       Citibank, N.A., Attn: Kristen Driscoll, Registered agent, 388 Greenwich Street, 14th
               Floor New York, New York 10013
       Citibank, N.A., Attn: Sunil Garg, CEO, 388 Greenwich Street, 14th Floor New York,
               New York 10013

        PLEASE TAKE NOTICE that on March 4, 2024 at 9:00 a.m., I will appear before the
Honorable Judge Jacqueline P. Cox, or any judge sitting in that judge’s place, either in
courtroom 680 of the Everett McKinley Dirksen United States Courthouse, 219 South Dearborn
Street, Chicago, IL 60604 or electronically as described below, and present the Debtor’s Motion
for Sanctions, a copy of which is attached.

      Important: Only parties and their counsel may appear for presentment of the
motion electronically using Zoom for Government. All others must appear in person.

       To appear by Zoom using the internet, go to this link: https://www.zoomgov.com/.
Then enter the meeting ID and passcode.

       To appear by Zoom using a telephone, call Zoom for Government at 1-669-254-5252
or 1-646-828-7666. Then enter the meeting ID and passcode.

        Meeting ID and passcode. The meeting ID for this hearing is 1612732896 and the
passcode is 778135. The meeting ID and passcode can also be found on the judge’s page on the
court’s web site.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without calling it.
                                                                             /s/ David H. Cutler
  Case 23-16871       Doc 22     Filed 02/08/24 Entered 02/08/24 13:32:47            Desc Main
                                   Document     Page 2 of 5



                                CERTIFICATE OF SERVICE

       I, David Cutler, certify that I served a copy of this notice and the attached motion on the
Chapter 13 Trustee vie Electronic Court Notice and on the parties addressed above via at the
address shown via first class US mail, proper postage prepaid on February 8, 2024.

                                                                            /s/ David H. Cutler

Cutler & Associates, Ltd.
4131 Main St.
Skokie, IL 60076
Phone: (847) 673-8600
     Case 23-16871     Doc 22     Filed 02/08/24 Entered 02/08/24 13:32:47           Desc Main
                                    Document     Page 3 of 5



                     IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

IN RE:                                 )       Chapter 13
                                       )
       Jungsoo Lim and                 )
       Peter Myong Je Lee              )       Case No. 23-16871
                                       )
                       Debtor(s).      )       Judge Jacqueline P. Cox

                  MOTION FOR SANCTIONS FOR VIOLATION OF THE
                  AUTOMATIC STAY PURSUANT TO 11 U.S.C. 362(k) )

         NOW COME the Debtor(s), Jungsoo Lim and Peter Myong Je Lee, by and through their

attorneys, Cutler & Associates, Ltd., and in support of their Motion for Sanctions for Violation

of the Automatic Stay, state and allege as follows:

1.       The Debtors filed a petition for relief under Chapter 13 of the Bankruptcy code

December 18, 2023.

2.       The Debtors owe a debt to Citibank N.A. (hereinafter “Citibank”). Citibank was

properly listed on the schedules filed in this case

3.       On December 29, 2023, after the filing of the Debtors’ case, Citibank allowed the

transfer of funds in the amount $611.74 from the Debtors’ checking account despite the

Debtors’ attempts to stop this payment in both the bank’s app and by calling the customer

service line.

4.       On January 12, 2024, the Debtors, individually and through their attorneys, contacted

Citibank to ensure that Citibank had received notice of the bankruptcy and to request the return

of the funds taken from the Debtors’ accounts.
     Case 23-16871       Doc 22     Filed 02/08/24 Entered 02/08/24 13:32:47           Desc Main
                                      Document     Page 4 of 5



5.        On January 16, 2024, the Debtors further sent notice to Citibank via email, fax, and US

Mail to again request return of the funds. A copy of the correspondence is marked as Exhibit A

and is attached hereto.

6.        Despite these attempts, the funds have not been returned to the Debtors and no

communication has been received from Citibank.

7.        The refusal to issue a refund the money to the Debtors constitutes a violation of the

automatic stay of 11 U.S.C. §362.

8.        The funds are necessary for the Debtors’ budget and have placed them in undue harm.

9.        The Debtors have been forced to take all funds out of that account in fear that the

automatic ach transfer will reoccur as they have been unsuccessful to resolve this matter with

Citibank.

10.       Citibank’s violation of the automatic stay is willful.

11.       The Debtors, therefore, request that Citibank be found to have willfully violated the

automatic stay of 11 U.S.C. 362 and that his Court enter an order awarding the Debtor actual

damages, including costs, and attorney fees, and punitive damages.

WHEREFORE, the Debtor(s), Jungsoo Lim and Peter Myong Je Lee, pray for the following

relief:

          A.     That this Court enter an order finding that Citibank willfully violated the

          automatic stay of 11 U.S.C. 362;

          B.     That this Court enter an order awarding the Debtor actual damages, including

          costs and attorney fees, and punitive damages; and

          C.     For such other and further relief as this Court deems equitable and just.
  Case 23-16871      Doc 22   Filed 02/08/24 Entered 02/08/24 13:32:47     Desc Main
                                Document     Page 5 of 5




                                                                Respectfully Submitted,
Dated: February 8, 2024

                                                  By:                 /s/ David H. Cutler
                                                   One of the attorneys for the Debtor(s)



Cutler & Associates, Ltd.
4131 Main St.
Skokie, IL 60076
Phone: (847) 673-8600
